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                     IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION

ANN WISEMAN and SARA HOWARD
individually and on behalf of all
others similarly situated                                                 PLAINTIFFS

v.                                CASE NO. 4:14CV478 BRW

TRANSAMERICA LIFE INSURANCE                                              DEFENDANT
COMPANY


                PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR MOTION
                   FOR CONDITIONAL CLASS CERTIFICATION
                      AND COURT-AUTHORIZED NOTICE


                                    HEARING REQUESTED

                                   I.       INTRODUCTION

       This is a collective action under the Fair Labor Standards Act for wages owed.

Transamerica is a life insurance company that provides life insurance and employs

billing specialists to assist in providing those services. Transamerica requires billing

specialists to clock in and out using a phone system, and that time is monitored for

purposes of employee discipline. Billing specialists are told to report only their

scheduled work times on their time sheets for purposes of compensation. As evidenced

by the phone system records, billing specialists routinely perform work before their

scheduled start times and during meal periods. Billing specialists also perform work

after their scheduled end times. All billing specialists at Transamerica’s Little Rock

facility were subject to these policies.



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      As a result of this practice, billing specialists are not compensated for the work

they perform outside of their scheduled shifts in violation of the FLSA. Plaintiffs bring

this suit individually and on behalf of others similarly situated to recover the overtime

wages owed by law, liquidated damages, attorneys’ fees and expenses, and all other

relief allowed by law. They seek conditional certification of a collective action and

distribution of court-approved notice.

                                II. STATEMENT OF FACTS

      At the Little Rock Transamerica facility, billing specialists provide various

services for Transamerica, including performing reconciliation and maintenance on

existing policies as well as applying paid premiums to the appropriate accounts.

(Wiseman Dep. [Ex. B] at 50:17–20, 53:13–20; Howard Dep. [Ex. C] at 15:5–11, 17:12–14). At

the beginning of the day, billing specialists are required to report to work and swipe a

badge to enter the facility. (Wiseman Dep. [Ex. B] at 56:21–57:1; Howard Dep. [Ex. C] at

36:3–4). Once the billing specialists enter their department and begin working, they are

required to “clock in” using the phone located at their desk. (Wiseman Dep. [Ex. B] at

56:13–57:5; Howard Dep. [Ex. C] at 37:8–12). Billing specialists are also required to use

this phone system to clock out when they take scheduled breaks and meal periods, as

well as when they return from those breaks. (Wiseman Dep. [Ex. B] at 75:6–18; Howard

Dep. [Ex. C] at 47:1–22). At the end of their scheduled shift, billing specialists are

required to clock out for the day using the same phone system. (Wiseman Dep. [Ex. B] at

133:2–10; Howard Dep. [Ex. C] at 48:4–8). Transamerica closely monitors these clock

times for purposes of employee discipline, and employees are disciplined if they clock

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in after their scheduled start time or if they clock out prior to the end of their scheduled

shift. (Wiseman Dep. [Ex. B] at 70:2–10; Howard Dep. [Ex. C] at 115:7–17).

       Although Transamerica retains and monitors these clock records, billing

specialists are not compensated based on the hours reflected in those records. Rather, all

billing specialists are told to report a specific schedule on their time cards, regardless of

their actual hours worked. (Wiseman Dep. [Ex. B] at 72:24–73:1, 75:15–18, 78:6–19; Howard

Dep. [Ex. C] at 55:20–56:20, 62:15–20). Typically, billing specialists are required to report

an eight-hour work day, including a one-hour unpaid meal break when billing

specialists work a shift of eight hours or more. (Wiseman Dep. [Ex. B] at 50:2–5; Howard

Dep. [Ex. C] at 28:11–12, 47:1–3). As a result, billing specialists are typically paid for 40

hours of work per week. (Wiseman Dep. [Ex. B] at 82:23–83:12, 97:21–23; Howard Dep. [Ex.

C] at 120:8–23). Supervisors at the Little Rock facility have held meetings where they

informed the billing specialists of this requirement. (Howard Dep. [Ex. C] at 57:4–18).

Moreover, when Transamerica determines that it is necessary for billing specialists to

work outside of their standard schedules, Transamerica informs the billing specialists

what specific hours to record on their time sheets before the billing specialists even

work those shifts. (Correspondence from Supervisor Lemons to Billing Specialists [Ex. D]).

       Billing specialists routinely clock in and begin working prior to their scheduled

start times in order to complete the large amount of work they are responsible for.

(Wiseman Dep. [Ex. B] at 57:24–58:7; Howard Dep. [Ex. C] at 72:2–3). Although the billing

specialists begin working prior to their scheduled time, they were informed by various

supervisors to only list their specific start times on their time sheets. (Wiseman Dep. [Ex.

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B] at 72:24–73:1, 75:15–18, 78:6–19; Howard Dep. [Ex. C] at 55:20–56:20, 62:15–20). Billing

specialists also perform work after the end of their scheduled shifts, but likewise list the

scheduled end time on their time sheets. (Wiseman Dep. [Ex. B] at 72:24–73:1, 75:15–18,

78:6–19; Howard Dep. [Ex. C] at 55:20–56:20, 62:15–20). While billing specialists were told

to report a full one-hour meal period on their time sheets, they routinely take shorter

meal breaks in order to complete their assigned projects. (Wiseman Dep. [Ex. B] at 75:6–

18; Howard Dep. [Ex. C] at 47:1–22). When the named Plaintiffs reported to work in the

mornings, they routinely observed other billing specialists clocking in via the phone

system, and performing work prior to the billing specialists’ scheduled start times.

(Wiseman Dep. [Ex. B] at 48:7–25, 58:19–23; Howard Dep. [Ex. C] at 105:7–13, 106:11–13,

107:5–20).


                                   III. LEGAL STANDARD

       A.     The FLSA’s Two-Stage Certification Process.

       The FLSA authorizes collective actions for “similarly situated” employees to

recover damages for its violations. Ford v. Townsends of Ark., Inc., No. 4:08-cv-00509,

2010 U.S. Dist. LEXIS 46093, at *8 (E.D. Ark. Apr. 9, 2010). “These collective actions are

intended to serve the interests of judicial economy and to aid in the vindication of

plaintiffs’ rights.” Id. Although the Eighth Circuit has not clearly defined the phrase

“similarly situated,” this Court and others within this District apply a two-step

approach to determine whether a class is similarly situated. Id. at *8. The first step is the

“notice stage,” and the second step is an “opt-in” merits stage. Id.


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       A class is similarly situated at the notice stage if plaintiffs make a modest factual

showing, based on the pleadings and affidavits, that the proposed class members were

victims of a single decision, policy, or plan. Id. Class members need not be identically

situated. Id. Indeed, the Eleventh Circuit has described the standard for this first stage

as “’not particularly stringent,’ ‘fairly lenient,’ ‘flexib[le],’ ‘not heavy,’ and ‘less stringent

than that for joinder under Rule 20(a) or for separate trials under 42(b).’” Morgan v.

Family Dollar Stores, Inc., 551 F.3d 1233, 1261 (11th Cir. 2008) (internal citations omitted).

       The second stage comes after discovery is largely completed and is prompted by

a defendant’s motion to decertify. Douglas v. First Student, Inc., 888 F. Supp. 2d 929, 933

(E.D. Ark. 2012). At the second stage, the court then uses a stricter standard to

determine whether the putative class members are similarly situated and whether the

trial should proceed collectively. Id. To maintain a class at the second stage, plaintiffs

must show that they are similarly situated with respect to their job requirements and

pay provisions. Id. “Courts will consider three factors at this second stage: (1) the

employment and factual settings of the plaintiffs; (2) the various defenses available to

the defendants; and (3) considerations of fairness, procedure, and manageability.” Id.

(citing Helmert v. Butterball, No. 4:08CV00342 JLH, 2009 U.S. Dist. LEXIS 116460, at *6

(E.D. Ark. Dec. 15, 2009)).

       B.      “Off-The-Clock” Work Under the FLSA.

       Under the Fair Labor Standards Act, employees are entitled to payment at the

overtime premium of time-and-a-half their regular rate of pay for work performed in

excess of forty hours per week. 29 U.S.C. § 207. “[A]n FLSA plaintiff must prove by a

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preponderance of the evidence that he or she performed work for which he or she was

not properly compensated.” White v. Baptist Memorial Health Care Corp., 699 F.3d 869, 873

(citing Myers v. Copper Cellar Corp., 192 F.3d 546, 551 (6th Cir. 1999)). “Work not

requested but suffered or permitted is work time.” Id. (citing 29 C.F.R. § 785.11). “Work

has been suffered or permitted if the employer ‘knows or has reason to believe’ that the

work was being performed.” Burch v. Qwest Commc’ns Int’l, Inc., 677 F. Supp. 2d 1101,

1131 (D. Minn. 2009) (citing Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 690 (1946)).

“The FLSA imposes an obligation on the employer ‘to exercise its control and see that

work is not performed if it does not want it to be performed.’” Kellar v. Summit Seating,

Inc., 664 F.3d 169, 177 (7th Cir. 2011) (citing 29 C.F.R. § 785.13)). “The employer ‘cannot

sit back and accept the benefits without compensating for them.’” Id. (citing 29 C.F.R. §

785.13).

       “[The employer’s] duty arises even where the employer has not requested the

overtime be performed or does not desire the employee to work, or where the employee

fails to report his overtime hours.” Id. (citing Chao v. Gotham Registry, Inc., 514 F.3d 280,

288 (2d Cir. 2008)). “The mere promulgation of a rule against overtime work is not

enough.” Id. (citing 29 C.F.R. § 785.13). “Nor does the fact that the employee performed

the work voluntarily necessarily take her claim outside of the FLSA.” Id. (citing 29

C.F.R. § 785.11). Furthermore, an employer must compensate the employee for all hours

worked, including the time worked during a missed meal period, even if the employee

does not comply with company policy of reporting that time. See Wage & Hour Div.,

U.S. Dep’t of Labor, Opinion Letter, FLSA2008-7NA, at *1-2 (May 15, 2008).

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                                        IV. ARGUMENT

       A. The Court Should Conditionally Certify a Class of All Billing
          Specialists Who Worked at Transamerica’s Little Rock Facility
          Within the Past Three Years.

       All billing specialists at Transamerica’s Little Rock facility are similarly situated

and should be invited to join this action. At the notice stage, Plaintiffs must only make a

modest factual showing sufficient to demonstrate that they and potential plaintiffs

together were victims of a common policy or plan that violated the law. Ford, 2010 U.S.

Dist. LEXIS 46093, at *8. In making this determination, courts should consider whether

there is evidence that the individual plaintiffs had similar “factual and employment

settings” and whether there was a “common policy or plan” that affected the potential

plaintiffs. See, e.g., Richardson v. Wells Fargo Bank, N.A., No. 4:11-cv-00738, 2012 WL

334038, at *2 (S.D. Tex. Feb. 2, 2012) (quotations omitted).

       Transamerica has a clear, “single decision, policy, or plan,” which applies to all

of its billing specialists at its Little Rock facility. It is undisputed that billing specialists

are required to report to work and “clock in” when they begin working by using the

phone located at their desk. (Wiseman Dep. [Ex. B] at 56:13–57:5; Howard Dep. [Ex. C] at

37:8–12, 95:7–10). Billing specialists are also required to use this phone system to clock

out when they take scheduled breaks and meal periods, as well as when they return

from those breaks, and at the end of their shifts. (Wiseman Dep. [Ex. B] at75:6–18, 133:22–

25; Howard Dep. [Ex. C] at 47:1–22, 64:1–7, 45:4–8). Transamerica is aware of the billing

specialists’ work time because the company closely monitors these clock times for

purposes of employee discipline, and employees are disciplined if they clock in after

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their scheduled start time or if they clock out prior to the end of their scheduled shift.

(Wiseman Dep. [Ex. B] at 70:2–10; Howard Dep. [Ex. C] at 115:7–17). Although

Transamerica is aware of the billing specialists’ work time, it only pays the billing

specialists based on the employee’s scheduled hours. (Wiseman Dep. [Ex. B] at 82:23–

83:12, 97:21–23; Howard Dep. [Ex. C] at 120:8–23). This policy applies to all billing

specialists at Transamerica’s Little Rock facility, and supervisors at the Little Rock

facility have held meetings where they informed the billing specialists of this

requirement. (Howard Dep. [Ex. C] at 57:4–18).

      As a result of Transamerica’s practice of requiring billing specialists to report a

specific schedule on their time sheets rather than their actual hours worked, billing

specialists are not compensated for the work they perform before and after those

scheduled times. Billing specialists routinely clock in and begin working prior to their

scheduled start times in order to complete the large amount of work they are

responsible for. (Wiseman Dep. [Ex. B] at 57:24–58:7; Howard Dep. [Ex. C] at 120:8–23).

Billing specialists also perform work after their scheduled end times, as well as during

their meal periods. (Wiseman Dep. [Ex. B] at 75:6–18, 133:22–25; Howard Dec. [Ex. C] at

47:1–22, 45:4–8). Although the billing specialists work before and after their scheduled

times, as well as during meal breaks, they were informed to only list their specific

scheduled times on their time sheets. (Wiseman Dep. [Ex. B] at 72:24–73:1, 75:15–18, 78:6–

19; Howard Dep. [Ex. C] at 55:20–56:20, 62:15–20). Likewise, when Transamerica changes

the billing specialists’ schedules, Transamerica requires the billing specialists to record

specific work hours on their time sheets before they even work those shifts.

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(Correspondence from Supervisor Lemons to Billing Specialists [Ex. D]). When the named

Plaintiffs reported to work in the mornings, they routinely observed other billing

specialists clocking in via the phone system, and performing work prior to the billing

specialists’ scheduled start times. (Wiseman Dep. [Ex. B] at 48:7–25, 58:19–23; Howard

Dep. [Ex. C] at 105:7–13, 106:11–13, 107:5–20).

       Plaintiffs have made a modest factual showing that all billing specialists were

victims of a single decision, policy, or plan. Through their deposition testimony and

written documents, Plaintiffs have shown that billing specialists clock in and out using

a desk phone system, which records the billing specialists’ time for purposes of

employee    discipline.   Although    Transamerica    retained   records   of   this   time,

Transamerica required billing specialists to report only their scheduled work times on

their time sheets for purposes of compensation. All billing specialists are similarly

situated and should be permitted to join this litigation.

       B.     The Court Should Provide Notice to Putative Class Members.

       The Supreme Court of the United States determined that district courts have the

authority to manage the process of joining multiple parties, consider a motion for

conditional certification, and issue court-approved notice in the “appropriate case.” See

Hoffmann-La Roche v. Sperling, 493 U.S. 165, 170 (1989). According to the Supreme Court

of the United States, determining what is an “appropriate case” lies within the

“discretion” of the district court. Id. at 170. The benefits to the judicial system of FLSA

collective actions “depend upon employees receiving accurate and timely notice

concerning the pendency of the collective action, so that they can make informed

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decisions about whether to participate.” Id. District courts are encouraged to become

involved in the notice process early to insure “timely, accurate, and informative” notice

and to help maintain control of the litigation. Id. at 171–72. This is an appropriate case

for court-approved notice.

       Here, prompt Court action is needed because the claims of the putative class

members are being extinguished or diminished due to the running of the statute of

limitations on their claims. See Redman v. U.S. W. Bus. Res., 153 F.3d 691, 695 (8th Cir.

1998); Hoffmann v. Sbarro, 982 F. Supp. 249, 260 (S.D.N.Y. 1997). Unlike Rule 23 class

actions, the statute of limitations for those who have not filed consent forms is not tolled

with the commencement of this action. Grayson v. K Mart Corp., 79 F.3d 1086, 1106 (11th

Cir. 1996). As a result, the statute of limitations continues to run on each individual’s

claim until they file a consent form with the Court. Shabazz v. Asurion Ins. Serv., No.

3:07-0653, 2008 U.S. Dist. LEXIS 29696, at *2 (M.D. Tenn. Apr. 10, 2008). The

consequence of this fundamental difference is self-evident; every day that passes is a

day of damages each potential opt-in plaintiff will be unable to recover.

       Plaintiffs’ proposed notice, attached as Exhibit “A,” has been carefully drafted to

mirror other judicial notice forms that have been approved by courts around the

country. It is narrowly drawn to notify potential class members of the pending

litigation, the composition of the class, their right to “opt in” to the litigation, the effect

of their doing so or not, and the procedure for doing so. It makes no comment

whatsoever on the merits of the case. As required, it is “timely, accurate, and

informative.” See Hoffmann-La Roche, Inc. v. Sperling, 493 U.S. 165, 172 (1989). As such,

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the proposed notice achieves the ultimate goal of providing employees accurate and

timely notice concerning the pendency of the collective action and should be adopted.

       Plaintiffs propose that to be timely, potential opt-in plaintiffs must return to

Plaintiffs' counsel their signed consent forms, received or postmarked within 90 days

after the date on which the Notice and Opt-In Consent Forms are mailed. Plaintiffs’

counsel will file the Opt-In Consent Forms with the Court on an ongoing basis and no

later than two weeks after the end of this 90-day notice period.

          C. The Court Should Order Defendants to Produce the Names and Addresses
             of the Putative Class Members to Carry Out Notice

       As discussed above, all non-exempt billing specialists who were employed by

Transamerica at their Little Rock facility since August 15, 2011, are “similarly situated”

for purposes of the FLSA. Thus, their identification to Plaintiffs is necessary in order to

provide them with notice of the action as contemplated by the law. See Hoffmann-La

Roche, Inc. v. Sperling, 493 U.S. 165, 170 (1989). This is precisely the reason why the

production of a mailing list containing potential class members is routinely required in

FLSA collective actions; such lists are necessary to facilitate notice. Id. at 165. Shabazz,

2008 U.S. Dist. LEXIS 29696, at *2; Henry v. Quicken Loans Inc., No. 04-40346, 2006 U.S.

Dist. LEXIS 70220, at *7 (E.D. Mich. Sept. 28, 2006) (“Having granted conditional class

certification to Plaintiffs, this Court has the discretion to compel the production of the

list of loan consultants in order to facilitate notice.”). Moreover, the identity of putative

class members is discoverable on other grounds. See Hoffmann-LaRoche, 493 U.S. at 170

(acknowledging the existence of “alternative bases for the discovery, for instance that


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the employees might have knowledge of other discoverable matter”); Morden v. T-

Mobile USA, Inc., No. C05-2112, 2006 U.S. Dist. LEXIS 42047, at *3 (W.D. Wash. June 22,

2006) (compelling the defendant to produce the names and addresses of potentially

similarly-situated employees in order to define the proposed class).

       If this Court grants Plaintiffs’ motion, the Court should also order Transamerica

to provide Plaintiffs a list of all putative class members necessary to carry out notice.

This list should contain the last known contact information for each putative class

member, including for each his/her name, last known address, telephone number,

dates of employment, and e-mail address.

       The Court should also require Transamerica to post notice of this lawsuit at the

relevant workplace and include the notice in the employees’ next paycheck in addition

to mailing notice. Garcia v. Salamanca Grp., No. 07C4665, 2008 U.S. Dist. LEXIS 22852, at

*5 (N.D. Ill. March 24, 2008) (authorizing notice to be sent by mail and posted at

defendant’s restaurants); Romero v. Producers Dairy Foods, Inc., 235 F.R.D. 474, 493 (E.D.

Cal. 2006) (finding that first class mail combined with posting provided for the “best

notice practicable” to the potential class).

                                      V. CONCLUSION

       Plaintiffs have provided adequate evidence to meet their lenient burden of

showing they were victims of a common policy. At Transamerica, billing specialists

were required to clock in and out using a desk phone system. Although Transamerica

monitored these records for purposes of employee discipline, the billing specialists

were told to only list their scheduled work schedules on their time sheets for purposes

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of compensation. As a result, the work the billing specialists performed outside of their

scheduled shifts was uncompensated work time. All Transamerica billing specialists are

similarly situated. The Court should:

          A. Grant Plaintiffs’ motion for conditional certification;

          B. Approve Plaintiffs’ proposed notice and authorize its mailing; and

          C. Order Defendants to produce the names and addresses of class members

             within 10 days of the order granting conditional certification.



                                           Respectfully submitted,

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                             CERTIFICATE OF SERVICE

     I, Timothy A. Steadman, certify that a true and accurate copy of the foregoing
document was sent via CM/ECF on this 2nd day of February, 2015 to the following:

      Carolyn B. Witherspoon (cspoon@cgwg.com)
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                                                /s/ Timothy A. Steadman
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